            Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 1 of 42



                             UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    MARY K. BOLEY, KANDIE SUTTER and )
    PHYLLIS JOHNSON, individually and on )
    behalf of all others similarly situated,    )
                                                )
                                    Plaintiffs, ) CIVIL ACTION NO.: 2:20-CV-02644
                                                )
                    v.                          )
                                                ) AMENDED COMPLAINT
    UNIVERSAL HEALTH SERVICES, INC., )
    THE UHS RETIREMENT PLANS                    )
    INVESTMENT COMMITTEE, and JOHN )
    DOES 1-20.                                  )
                                                )
                                    Defendants. )
                                                )
                                                )

       Plaintiffs Mary K. Boley, Kandie Sutter and Phyllis Johnson (“Plaintiffs”), by and through

their attorneys, on behalf of the Universal Health Services, Inc., Retirement Savings Plan (the

“Plan”),1 themselves and all others similarly situated, state and allege as follows:

                                I.      INTRODUCTION

       1.       This is a class action brought pursuant to §§ 409 and 502 of the Employee

Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1109 and 1132, against the

Plan’s fiduciaries, which include Universal Health Services, Inc., (“UHS,” “Universal” or the

“Company”) and the UHS Retirement Plans Investment Committee (“Committee”) and its

members during the Class Period for breaches of their fiduciary duties.




1
  The Plan is a legal entity that can sue and be sued. ERISA § 502(d)(1), 29 U.S.C. § 1132(d)(1).
However, in a breach of fiduciary duty action such as this, the Plan is not a party. Rather, pursuant
to ERISA § 409, and the law interpreting it, the relief requested in this action is for the benefit of
the Plan and its participants.
             Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 2 of 42



        2.       Defined contribution retirement plans, like the Plan, confer tax benefits on

participating employees to incentivize saving for retirement. As of the end of 2015, Americans

had approximately $6.7 trillion in assets invested in defined contribution plans. See INVESTMENT

COMPANY INSTITUTE, Retirement Assets Total $24.0 Trillion in Fourth Quarter 2015 (Mar. 24,

2016), available at https://www.ici.org/research/stats/retirement/ret_15_q4; PLAN SPONSOR, 2015

Recordkeeping      Survey     (June   2015),    available    at   http://www.plansponsor.com/2015-

Recordkeeping-Survey/.

        3.       In a defined contribution plan, participants’ benefits “are limited to the value of

their own investment accounts, which is determined by the market performance of employee and

employer contributions, less expenses.” Tibble v. Edison Int’l, 135 S. Ct. 1823, 1826 (2015)

(“Tibble I”). Thus, the employer has no incentive to keep costs low or to closely monitor the Plan

to ensure every investment remains prudent, because all risks related to high fees and poorly-

performing investments are borne by the participants.

        4.       To safeguard Plan participants and beneficiaries, ERISA imposes strict fiduciary

duties of loyalty and prudence upon employers and other plan fiduciaries. 29 U.S.C. § 1104(a)(1).

These twin fiduciary duties are “the highest known to the law.” Sweda v. Univ. of Pennsylvania,

923 F.3d 320, 333 (3d Cir. 2019). Fiduciaries must act “solely in the interest of the participants

and beneficiaries,” 29 U.S.C. § 1104(a)(1)(A), with the “care, skill, prudence, and diligence” that

would be expected in managing a plan of similar scope. 29 U.S.C. § 1104(a)(1)(B).

        5.       The Plan has at all times, during the Class Period maintained over 1.3 billion dollars

in assets (including having 1.9 billion dollars in assets in 2018), qualifying it as a large plan in the

defined contribution plan marketplace, and among the largest plans in the United States. These

assets are entrusted to the care of the Plan’s fiduciaries. As a large plan, the Plan had substantial

bargaining power regarding the fees and expenses that were charged against participants’

                                                   2
             Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 3 of 42



investments.     Defendants, however, did not try to reduce the Plan’s expenses or exercise

appropriate judgment to scrutinize each investment option that was offered in the Plan to ensure it

was prudent.

        6.       Plaintiffs allege that during the putative Class Period (June 5, 2014 through the date

of judgment) Defendants, as “fiduciaries” of the Plan as that term is defined under ERISA Section

3(21)(A), 29 U.S.C. § 1002(21)(A), breached the duties they owed to the Plan, to Plaintiffs, and to

the other participants of the Plan by, inter alia, (1) failing to objectively and adequately review the

Plan’s investment portfolio with due care to ensure that each investment option was prudent, in

terms of cost; and (2) maintaining certain funds in the Plan despite the availability of identical or

materially similar investment options with lower costs and/or better performance histories.

        7.       To make matters worse, Defendants failed to consider lower cost collective trusts

that were available to the Plan as alternatives to certain mutual funds in the Plan.

        8.       Defendants’ mismanagement of the Plan, to the detriment of participants and

beneficiaries, constitutes a breach of the fiduciary duties of prudence and loyalty, in violation of

29 U.S.C. § 1104. Their actions were contrary to the actions of a reasonable fiduciary and cost the

Plan and its participants millions of dollars.

        9.       Based on this conduct, Plaintiffs assert claims against Defendants for breach of the

fiduciary duties of loyalty and prudence (Count One) and failure to monitor fiduciaries (Count

Two).

                          II.     JURISDICTION AND VENUE

        10.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because it is a civil action arising under the laws of the United States, and pursuant to 29

U.S.C. § 1332(e)(1), which provides for federal jurisdiction over actions brought under Title I of

ERISA, 29 U.S.C. § 1001, et seq.

                                                   3
          Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 4 of 42



        11.     This Court has personal jurisdiction over Defendants because they are

headquartered and transact business in this District, reside in this District, and/or have significant

contacts with this District, and because ERISA provides for nationwide service of process.

        12.     Venue is proper in this District pursuant to ERISA Section 502(e)(2), 29 U.S.C.

§ 1132(e)(2), because some or all of the violations of ERISA occurred in this District and

Defendants reside and may be found in this District. Venue is also proper in this District pursuant

to 28 U.S.C. § 1391 because Defendants do business in this District and a substantial part of the

events or omissions giving rise to the claims asserted herein occurred within this District.

                                    III.     PARTIES

        Plaintiffs

        13.     Plaintiff Mary K. Boley (“Boley”) resides in Anna, Texas. During her employment,

Plaintiff Boley participated in the Plan, investing in the options offered by the Plan and which are

the subject of this lawsuit.

        14.     Plaintiff Kandie Sutter (“Sutter”) resides in Corona, California.        During her

employment, Plaintiff Sutter participated in the Plan, investing in the options offered by the Plan

and which are the subject of this lawsuit.

        15.     Plaintiff Phyllis Johnson (“Johnson”) resides in Las Vegas, Nevada. During her

employment, Plaintiff Johnson participated in the Plan, investing in the options offered by the Plan

and which are the subject of this lawsuit.

        16.     Each Plaintiff has standing to bring this action on behalf of the Plan because each

of them participated in the Plan and were injured by Defendants’ unlawful conduct. Plaintiffs are

entitled to receive benefits in the amount of the difference between the value of their accounts

currently, or as of the time their accounts were distributed, and what their accounts are or would

have been worth, but for Defendants’ breaches of fiduciary duty as described herein.

                                                  4
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 5 of 42



       17.     Plaintiffs did not have knowledge of all material facts (including, among other

things, the investment alternatives that are comparable to the investments offered within the Plan,

comparisons of the costs and investment performance of Plan investments versus available

alternatives within similarly-sized plans, total cost comparisons to similarly-sized plans,

information regarding other available share classes, and information regarding the availability and

pricing of collective trusts) necessary to understand that Defendants breached their fiduciary duties

and engaged in other unlawful conduct in violation of ERISA until shortly before this suit was

filed. Further, Plaintiffs did not have and do not have actual knowledge of the specifics of

Defendants’ decision-making process with respect to the Plan, including Defendants’ processes

(and execution of such) for selecting, monitoring, and removing Plan investments, because this

information is solely within the possession of Defendants prior to discovery.2 Moreover, having

never managed a large 401(k) plan such as the Plan, Plaintiffs lacked actual knowledge of

reasonable fee levels and prudent alternatives available to such plans. For purposes of this

Complaint, Plaintiffs have drawn reasonable inferences regarding these processes based upon

(among other things) the facts set forth herein.

               Defendants

                       Company Defendant

       18.     Universal Health Services, Inc., is the Plan sponsor. See 2018 Form 5500 at 1. Its

corporate headquarters is located at 367 S. Gulph Road, King of Prussia, Pennsylvania. UHS

describes itself as “one of the nation’s largest and most respected providers of hospital and




2
  See Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 598 (8th Cir. 2009) (“If Plaintiffs cannot state
a claim without pleading facts which tend systematically to be in the sole possession of defendants,
the remedial scheme of [ERISA] will fail, and the crucial rights secured by ERISA will suffer.”).

                                                   5
           Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 6 of 42



healthcare services.”3 It “has 400 acute care hospitals, behavioral health facilities and ambulatory

centers across the U.S., Puerto Rico and the U.K….and employs 90,000 employees.”4 In 2019,

“UHS generated net revenues of approximately $11.4 billion, an increase of 5.6% over 2018.” See,

the December 31, 2019 Annual Report of Universal Health Services, Inc., at 6.

          19.   “The Company and its authorized representatives appointed by the Board of

Directors are the Plan fiduciaries and the Plan Administrator.” Summary Plan Description

Handbook of Universal Health Services, Inc., Effective January 1, 2020 (“UHS 2020 SPD”), at

81. In executing their powers, the “Plan Administrator and Plan Sponsor have the authority to

control and manage the operation and administration of the plan….” Id. at 92.

          20.   In addition, UHS is responsible for “selecting and removing Plan trustees,

investment media, record-keepers and/or insurance companies,” UHS 2020 SPD at 81, and

appointing members of the Committee through action of its Board of Directors. Under ERISA,

fiduciaries with the power to appoint have the concomitant fiduciary duty to monitor and supervise

their appointees.

          21.   Lastly, at all times, UHS acted through its officers, including the Committee, to

perform Plan-related fiduciary functions.

          22.   For all the foregoing reasons, the Company is a fiduciary of the Plan, within the

meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A).

                Committee Defendants

          23.   As noted in the 2018 Audited Financial Statement: “[t]he Company’s Plan

Committee … is the plan administrator.” December 31, 2018 Audited Financial Statements of




3
    https://www.uhsinc.com/about-uhs/
4
    Id.
                                                 6
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 7 of 42



Universal Health Services, Inc., (“2018 Audited Statement”) at 4.           “Participants direct the

investment of their contributions … into various investment options selected by the Plan

Committee.” Id.

       24.     Further, the Committee and its members, as “authorized representatives of the

Company,” appointed the trustee of the Plan. UHS 2020 SPD at 81. The Committee selected

“Fidelity Trust Company” to act as the Plan trustee. Id. The Plan trustee, Fidelity Trust Company

“shall be the named fiduciary with respect to management and control of Plan assets held by it…”

The Universal Health Services, Inc., Retirement Saving Plan Document as amended and restated

effective January 1, 2017 (“2017 Plan Doc.”) at 54.

       25.     The Committee and each of its members were fiduciaries of the Plan during the

Class Period, within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A), because

each exercised discretionary authority over management or disposition of Plan assets.

       26.     The Committee and members of the Committee during the Class Period (referred

to herein as John Does 1-10), are collectively referred to herein as the “Committee Defendants.”

               Additional John Doe Defendants

       27.     To the extent that there are additional officers and employees of UHS who are/were

fiduciaries of the Plan during the Class Period, or other individuals who were hired as investment

managers for the Plan during the Class Period, the identities of whom are currently unknown to

Plaintiffs, Plaintiffs reserve the right, once their identities are ascertained, to seek leave to join

them to the instant action. Thus, without limitation, unknown “John Doe” Defendants 11-20

include, but are not limited to, UHS officers and employees who are/were fiduciaries of the Plan

within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A), during the Class Period.




                                                  7
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 8 of 42




                                     IV.   THE PLAN

       28.     The Plan “which became effective January 1, 1985, is a defined contribution plan

available to qualifying employees of Universal Health Services, Inc.” 2018 Audited Statement at

4. The plan was amended and restated effective January 1, 1997. See, 2017 Plan Doc. at 1.

       29.     The Plan is a “defined contribution” or “individual account” plan within the

meaning of ERISA Section 3(34), 29 U.S.C. § 1002(34), in that the Plan provides for individual

accounts for each participant and for benefits based solely upon the amount contributed to those

accounts, and any income, expense, gains and losses, and any forfeitures of accounts of the

participants which may be allocated to such participant’s account. See, 2017 Plan Doc at 9.

Further, the 2020 SPD provides: “[t]he Plan is a defined contribution plan…” UHS 2020 SPD at

82. Consequently, retirement benefits provided by the Plan are based solely on the amounts

allocated to each individual’s account.

       Eligibility

       30.     As detailed in the 2018 Auditor Report: “[t]o be eligible to participate in the Plan,

an employee must generally have completed at least one month of credited service and be 21 years

of age.” 2018 Auditor Report at 4.

       Contributions and Vesting

       31.     There are several types of contributions that can be added to a participant’s account:

an employee salary deferral contribution, an employer matching contribution, and an employer

profit sharing contribution. UHS 2020 SPD at 72 and 73. Participants can also roll over amounts

from other qualified benefit or defined contribution plans. Id.

       32.     As described in the UHS 2020 SPD, a participant “can save from 1% to 75% of

your eligible compensation on a pre-tax basis….” Id. In addition, “the Company will match a

                                                 8
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 9 of 42



portion of your pre-tax and/or Roth after-tax contributions (your “Company Matching

Contribution”) each pay period.

       33.     UHS made discretionary decisions about the matching and discretionary

contributions to Plan participants. 2015 Plan Doc. at 25. As described in the 2018 Audited

Statement, UHS “contributes a discretionary amount of each participant’s contribution to the Plan

in accordance with Plan provisions…” 2018 Audited Statement at 4. As long as an employee is

eligible to participate in the Plan, UHS will make contributions to each participants’ accounts on

the first day of eligibility. See, UHS 2020 SPD at 71.

       34.     Generally, “[p]articipants are immediately vested in their contributions plus actual

earnings thereon. Vesting in the Company’s contribution portion is based on years of continuous

service. Generally, participants vest 25% each year and are fully vested after four years of

service.” 2018 Auditor Report at 4.

       35.     Like other companies that sponsor 401(k) plans for their employees, UHS enjoys

both direct and indirect benefits by providing matching contributions to Plan participants.

Employers are generally permitted to take tax deductions for their contributions to 401(k) plans at

the time when the contributions are made.           See generally https:/www.irs.gov/retirement-

plans/plan-sponsor/401k-plan-overview.

       36.     UHS also benefits in other ways from the Plan’s matching program. It is well-

known that “[m]any employers match their employees’ contributions to the 401(k) plan in order

to help attract and retain talent at their company. By hiring and retaining employees with a high-

caliber of talent, [a company] may save money on training and attrition costs associated with

unhappy or lower-performing workers.”          See, https://www.paychex.com/articles/employee-

benefits/employer-matching-401k-benefits.



                                                9
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 10 of 42



       37.     Given the size of the Plan, UHS likely enjoyed a significant tax and cost savings

from offering a match.

       The Plan’s Investments

       38.     Several investments were available to Plan participants for investment each year

during the putative Class Period, including several Fidelity target date funds. As noted above, the

Committee determines the appropriateness of the Plan’s investment offerings and monitors

investment performance. For 2018, the Plan offered 31 investment options, which included 29

mutual funds, 1 collective trust and 1 money market fund.

       39.     The Plan’s assets under management for all funds as of the end of 2018 was

$1,914,043,716.    2018 Auditor Report at 2.           From 2014 to 2017 the Plan’s assets under

management ranged from $1.3 billion to $1.9 billion.

       Plan Expenses

       40.      “Certain expenses of maintaining the Plan are paid directly by the Plan …” 2018

Auditor Report at 6.

                       V.      CLASS ACTION ALLEGATIONS

       41.     Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of themselves and the following proposed class (“Class”):5

               All persons, except Defendants and their immediate family
               members, who were participants in or beneficiaries of the Plan, at
               any time between June 5, 2014 through the date of judgment (the
               “Class Period”).




5
  Plaintiffs reserve the right to propose other or additional classes or subclasses in their motion for
class certification or subsequent pleadings in this action.

                                                  10
           Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 11 of 42



       42.     The members of the Class are so numerous that joinder of all members is

impractical. The 2018 Form 5500 filed with the Dept. of Labor lists 41,872 Plan “participants

with account balances as of the end of the plan year.” 2018 Form 5500 at 2.

       43.     Plaintiffs’ claims are typical of the claims of the members of the Class. Like other

Class members, Plaintiffs participated in the Plan and have suffered injuries as a result of

Defendants’ mismanagement of the Plan. Defendants treated Plaintiffs consistently with other

Class members and managed the Plan as a single entity. Plaintiffs’ claims and the claims of all

Class members arise out of the same conduct, policies, and practices of Defendants as alleged

herein, and all members of the Class have been similarly affected by Defendants’ wrongful

conduct.

       44.     There are questions of law and fact common to the Class, and these questions

predominate over questions affecting only individual Class members. Common legal and factual

questions include, but are not limited to:

               A.      Whether Defendants are/were fiduciaries of the Plan;

               B.      Whether Defendants breached their fiduciary duties of loyalty and prudence

                       by engaging in the conduct described herein;

               C.      Whether the Company failed to adequately monitor the Committee and

                       other fiduciaries to ensure the Plan was being managed in compliance with

                       ERISA;

               D.      The proper form of equitable and injunctive relief; and

               E.      The proper measure of monetary relief.

       45.     Plaintiffs will fairly and adequately represent the Class and have retained counsel

experienced and competent in the prosecution of ERISA class action litigation. Plaintiffs have no

interests antagonistic to those of other members of the Class. Plaintiffs are committed to the

                                                11
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 12 of 42



vigorous prosecution of this action and anticipate no difficulty in the management of this litigation

as a class action.

        46.     This action may be properly certified under Rule 23(b)(1). Class action status in

this action is warranted under Rule 23(b)(1)(A) because prosecution of separate actions by the

members of the Class would create a risk of establishing incompatible standards of conduct for

Defendants. Class action status is also warranted under Rule 23(b)(1)(B) because prosecution of

separate actions by the members of the Class would create a risk of adjudications with respect to

individual members of the Class that, as a practical matter, would be dispositive of the interests of

other members not parties to this action, or that would substantially impair or impede their ability

to protect their interests.

        47.     In the alternative, certification under Rule 23(b)(2) is warranted because the

Defendants have acted or refused to act on grounds generally applicable to the Class, thereby

making appropriate final injunctive, declaratory, or other appropriate equitable relief with respect

to the Class as a whole.

                     VI.  DEFENDANTS’ FIDUCIARY STATUS
                        AND OVERVIEW OF FIDUCIARY DUTIES

        48.     ERISA requires every plan to provide for one or more named fiduciaries who will

have “authority to control and manage the operation and administration of the plan.” ERISA §

402(a)(1), 29 U.S.C. § 1102(a)(1).

        49.     ERISA treats as fiduciaries not only persons explicitly named as fiduciaries under

Section 402(a)(1), 29 U.S.C. § 1102(a)(1), but also any other persons who in fact perform fiduciary

functions. Thus, a person is a fiduciary to the extent “(i) he exercises any discretionary authority

or discretionary control respecting management of such plan or exercises any authority or control

respecting management or disposition of its assets, (ii) he renders investment advice for a fee or


                                                 12
           Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 13 of 42



other compensation, direct or indirect, with respect to any moneys or other property of such plan,

or has any authority or responsibility to do so, or (iii) he has any discretionary authority or

discretionary responsibility in the administration of such plan.” ERISA § 3(21)(A)(i), 29 U.S.C.

§ 1002(21)(A)(i).

        50.     As described in the “Parties” section above, Defendants were fiduciaries of the Plan

because:

                (a)     they were so named; and/or

                (b)     they exercised authority or control respecting management or disposition of

                        the Plan’s assets; and/or

                (c)     they exercised discretionary authority or discretionary control respecting

                        management of the Plan; and/or

                (d)     they had discretionary authority or discretionary responsibility in the

                        administration of the Plan.

        51.     As fiduciaries, Defendants are/were required by ERISA Section 404(a)(1), 29

U.S.C. § 1104(a)(1), to manage and administer the Plan, and the Plan’s investments, solely in the

interest of the Plan’s participants and beneficiaries and with the care, skill, prudence, and diligence

under the circumstances then prevailing that a prudent person acting in a like capacity and familiar

with such matters would use in the conduct of an enterprise of a like character and with like aims.

These twin duties are referred to as the duties of loyalty and prudence and are “the highest known

to the law.” Sweda, 923 F.3d at 333.

        52.     The duty of loyalty requires fiduciaries to act with an “eye single” to the interests

of plan participants.    Pegram v. Herdrich, 530 U.S. 211, 235 (2000).              “Perhaps the most

fundamental duty of a [fiduciary] is that he [or she] must display . . . complete loyalty to the

interests of the beneficiary and must exclude all selfish interest and all consideration of the interests

                                                    13
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 14 of 42



of third persons.” Id., at 224 (quotation marks and citations omitted). Thus, “in deciding whether

and to what extent to invest in a particular investment, a fiduciary must ordinarily consider only

factors relating to the interests of plan participants and beneficiaries . . . . A decision to make an

investment may not be influenced by [other] factors unless the investment, when judged solely on

the basis of its economic value to the plan, would be equal or superior to alternative investments

available to the plan.” Dep’t of Labor ERISA Adv. Op. 88-16A, 1988 WL 222716, at *3 (Dec.

19, 1988) (emphasis added).

       53.     In effect, the duty of loyalty includes a mandate that the fiduciary display complete

loyalty to the beneficiaries and set aside the consideration of himself or third persons.

       54.     ERISA also “imposes a ‘prudent person’ standard by which to measure fiduciaries’

investment decisions and disposition of assets.” Fifth Third Bancorp v. Dudenhoeffer, 134 S. Ct.

2459, 2467 (2014) (quotation omitted). In addition to a duty to select prudent investments, under

ERISA a fiduciary “has a continuing duty to monitor [plan] investments and remove imprudent

ones” that exists “separate and apart from the [fiduciary’s] duty to exercise prudence in selecting

investments.” Tibble I, 135 S. Ct. at 1828.

       55.     In addition, ERISA Section 405(a), 29 U.S.C. § 1105(a) (entitled “Liability for

breach by co-fiduciary”), further provides that:

               [I]n addition to any liability which he may have under any other
               provision of this part, a fiduciary with respect to a plan shall be liable
               for a breach of fiduciary responsibility of another fiduciary with
               respect to the same plan in the following circumstances: (A) if he
               participates knowingly in, or knowingly undertakes to conceal, an
               act or omission of such other fiduciary, knowing such an act or
               omission is a breach; (B) if, by his failure to comply with section
               404(a)(1), 29 U.S.C. §1104(a)(1), in the administration of his
               specific responsibilities which give rise to his status as a fiduciary,
               he has enabled such other fiduciary to commit a breach; or (C) if he
               has knowledge of a breach by such other fiduciary, unless he makes
               reasonable efforts under the circumstances to remedy the breach.


                                                   14
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 15 of 42



       56.     During the Class Period, Defendants did not act in the best interests of the Plan

participants. Investments chosen for a plan are not to favor the fund provider over the plan’s

participants. Yet here, to the detriment of the Plan and its participants and beneficiaries, the Plan’s

fiduciaries included and retained in the Plan many mutual fund investments that were more

expensive than necessary and otherwise not justified on the basis of their economic value to the

Plan or Plan participants.

       57.     Based on reasonable inferences from the facts set forth in this Complaint, during

the Class Period Defendants failed to have a proper system of review in place to ensure that

participants in the Plan were being charged appropriate and reasonable fees for the Plan’s

investment options. Additionally, Defendants failed to leverage the size of the Plan to negotiate

for: (1) lower expense ratios for certain investment options maintained and/or added to the Plan

during the Class Period; and (2) a prudent payment arrangement with regard to the Plan’s

recordkeeping and administrative fees.

       58.      As discussed below, Defendants breached fiduciary duties to the Plan and its

participants and beneficiaries and are liable for their breaches and the breaches of their co-

fiduciaries under 29 U.S.C. §§ 1104(a)(1) and 1105(a).

                               VII.    SPECIFIC ALLEGATIONS

A.     Improper Management of an Employee Retirement Plan Can Cost the Plan’s
       Participants Millions in Savings

       59.     Under 29 U.S.C. § 1104(a)(1), a plan fiduciary must provide diversified investment

options for a defined-contribution plan while also giving substantial consideration to the cost of

those options. “Wasting beneficiaries’ money is imprudent. In devising and implementing

strategies for the investment and management of trust assets, trustees are obligated to minimize

costs.” Uniform Prudent Investor Act (the “UPIA”), § 7.


                                                  15
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 16 of 42



       60.     “The Restatement … instructs that ‘cost-conscious management is fundamental to

prudence in the investment function,’ and should be applied ‘not only in making investments but

also in monitoring and reviewing investments.’” Tibble v. Edison Int’l, 843 F.3d 1187, 1197-98

(9th Cir. 2016) (en banc) (quoting Restatement (Third) of Trusts, § 90, cmt. b) (“Tibble II”). See

also U.S. Dep’t of Labor, A Look at 401(k) Plan Fees, (Aug. 2013), at 2, available at

https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-

center/publications/a-look-at-401k-plan-fees.pdf (last visited February 21, 2020) (“You should be

aware that your employer also has a specific obligation to consider the fees and expenses paid by

your plan.”). As the Ninth Circuit described, additional fees of only 0.18% or 0.4% can have a

large effect on a participant’s investment results over time because “[b]eneficiaries subject to

higher fees … lose not only money spent on higher fees, but also lost investment opportunity; that

is, the money that the portion of their investment spent on unnecessary fees would have earned

over time.” Tibble II, 843 F.3d at 1198 (“It is beyond dispute that the higher the fees charged to a

beneficiary, the more the beneficiary’s investment shrinks.”).

       61.     Most participants in 401(k) plans expect that their 401(k) accounts will be their

principal source of income after retirement. Although at all times 401(k) accounts are fully funded,

that does not prevent plan participants from losing money on poor investment choices by plan

sponsors and fiduciaries, whether due to poor performance, high fees or both.

       62.     In fact, the Department of Labor has explicitly stated that employers are held to a

“high standard of care and diligence” and must, among other duties, both “establish a prudent

process for selecting investment options and service providers” and “monitor investment options

and service providers once selected to see that they continue to be appropriate choices.” See, “A

Look at 401(k) Plan Fees,” supra, at 2.



                                                16
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 17 of 42



       63.     The duty to evaluate and monitor fees and investment costs includes fees paid

directly by plan participants to investment providers, usually in the form of an expense ratio or a

percentage of assets under management within a particular investment. See Investment Company

Institute (“ICI”), The Economics of Providing 401(k) Plans: Services, Fees, and Expenses (July

2016), at 4. “Any costs not paid by the employer, which may include administrative, investment,

legal, and compliance costs, effectively are paid by plan participants.” Id., at 5.

       64.     Prudent and impartial plan sponsors thus should be monitoring both the

performance and cost of the investments selected for their 401(k) plans, as well as investigating

alternatives in the marketplace to ensure that well-performing, low cost investment options are

being made available to plan participants.

B.     Defendants Breached Their Fiduciary Duties in Failing to Investigate and Select
       Lower Cost Alternative Funds

       65.     Defendants’ breaches of their fiduciary duties, relating to their overall decision-

making, resulted in the selection (and maintenance) of several investments in the Plan throughout

the Class Period, including those identified below, that wasted the Plan and participants’ assets

because of unnecessary costs.

       66.     The Supreme Court recently reaffirmed the ongoing fiduciary duty to monitor a

plan’s investment options. Tibble I, 135 S. Ct. at 1823. In Tibble I, the Court held that “an ERISA

fiduciary’s duty is derived from the common law of trusts” and that, “[u]nder trust law, a trustee

has a continuing duty to monitor trust investments and remove imprudent ones.” Id., at 1828. In

so holding, the Supreme Court referenced with approval the UPIA, treatises, and seminal decisions

confirming the duty.

       67.     Under trust law, one of the responsibilities of the Plan’s fiduciaries is to “avoid

unwarranted costs” by being aware of the “availability and continuing emergence” of alternative


                                                 17
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 18 of 42



investments that may have “significantly different costs.” Restatement (Third) of Trusts, ch. 17,

intro. note (2007); see also Restatement (Third) of Trusts, § 90 cmt. B (2007) (“Cost-conscious

management is fundamental to prudence in the investment function.”). Adherence to these duties

requires regular performance of an “adequate investigation” of existing investments in a plan to

determine whether any of the plan’s investments are “improvident” or if there is a “superior

alternative investment” to any of the plan’s holdings. Pension Ben. Gaur. Corp. ex rel. St. Vincent

Catholic Med. Ctrs. Ret. Plan v. Morgan Stanley Inv. Mgmt., 712 F.3d 705, 718-19 (2d Cir. 2013).

       68.     When large plans, particularly those with over a billion dollars in assets like the

Plan here, have options which approach the retail cost of shares for individual investors or are

simply more expensive than the average or median institutional shares for that type of investment,

a careful review of the plan and each option is needed for the fiduciaries to fulfill their obligations

to the plan participants.

       69.     The Plan has retained several actively-managed funds as Plan investment options

despite the fact that these funds charged grossly excessive fees compared with comparable or

superior alternatives, and despite ample evidence available to a reasonable fiduciary that these

funds had become imprudent due to their higher costs relative to the same or similar investments

available. This fiduciary failure decreased participant compounding returns and reduced the

available amount participants will have at retirement.

       70.     During the Class Period, the Plan lost millions of dollars by offering investment

options that had similar or identical characteristics to other lower-priced investment options.

       71.      The majority of funds in the Plan stayed relatively unchanged during the Class

Period. In 2018, a majority of the funds in the Plan, at least 20 out of the Plan’s 31 funds (65%)

were much more expensive than comparable funds found in similarly-sized plans (plans having

over a billion dollars in assets). The expense ratios for funds in the Plan in some cases were up to

                                                  18
           Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 19 of 42



203% (in the case of the Northern Small Cap Value fund) and 218% (in the case of the MSIF Small

Cap Growth IS fund) above the median expense ratios in the same category:6

    Plan Fund               Expense Ratio7        Category               ICI Median Fee
    Fidelity Contra Class   0.73%                 Domestic Equity        0.33%
    K
    Fidelity Balanced       0.45%                 Domestic Equity        0.33%
    Class K
    Harbor Capital          0.68%                 Domestic Equity        0.33%
    Appreciation Fund
    Inst Class
    Neuberger Berman        0.75%                 Domestic Equity        0.33%
    Genesis Fund R6
    Northern Small Cap      1.00%                 Domestic Equity        0.33%
    Value Fund
    Franklin Small Cap      0.65%                 Domestic Equity        0.33%
    Growth Fund R6
    Wells Fargo Special     0.73%                 Domestic Equity        0.33%
    Mid Cap Value R6
    Principal Midcap        0.69%                 Domestic Equity        0.33%
    Fund Inst C1
    Neuberger Berman        0.70%                 Domestic Equity        0.33%
    Large Cap Value Inst
    MSIF Small Cap          1.05%                 Domestic Equity        0.33%
    Growth IS
    Fidelity Diversified    0.69%                 International Equity   0.50%
    International Class K
    Fidelity Freedom K      0.53%                 Target Date            0.47%
    2020 Fund
    Fidelity Freedom K      0.56%                 Target Date            0.47%
    2025 Fund
    Fidelity Freedom K      0.60%                 Target Date            0.47%
    2030 Fund
    Fidelity Freedom K      0.63%                 Target Date            0.47%
    2035 Fund
    Fidelity Freedom K      0.65%                 Target Date            0.47%
    2040 Fund
    Fidelity Freedom K      0.65%                 Target Date            0.47%
    2045 Fund

6
 See BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2016 at
62 (June 2019) (hereafter, “ICI Study”) available at
https://www.ici.org/pdf/19_ppr_dcplan_profile_401k.pdf.
7
    The listed expense figures are as of 2019.

                                                 19
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 20 of 42



 Fidelity Freedom K       0.65%                    Target Date               0.47%
 2050 Fund
 Fidelity Freedom K       0.65%                    Target Date               0.47%
 2055 Fund
 Fidelity Freedom K       0.65%                    Target Date               0.47%
 2060 Fund


       72.     The above comparisons understate the excessiveness of fees in the Plan throughout

the Class Period. That is because the above ICI Median fee is based on a study conducted in 2016

when expense ratios were generally higher than fees today or even in 2019 given the downward

trend of expense ratios the last few years. Indeed, the ICI median expense ratio for target date

funds for plans with over 1 billion dollars in assets was 0.56% using 2015 data compared with

0.47% in 2016. Accordingly, 2019 median expense ratios would be lower than indicated above,

demonstrating a greater disparity between the Plan’s 2019 expense ratios charted above and the

median expense ratios in the same category.

       73.     Further, median-based comparisons also understate the excessiveness of the

investment management fees of the Plan’s funds because many prudent alternative funds were

available that offered lower expenses than the median.

       Failure to Investigate Availability of Lower Cost Collective Trusts

       74.     Many mutual funds offer multiple classes of shares in a single mutual fund that are

targeted at different investors. Generally, more expensive share classes are targeted at smaller

investors with less bargaining power, while lower cost shares are targeted at institutional investors

with more assets, generally $1 million or more, and therefore greater bargaining power. There is

no difference between share classes other than cost—the funds hold identical investments and have

the same manager.

       75.     Collective trusts, also referred to as CITs, are akin to low-cost share classes because

many if not most mutual fund strategies are available in a collective trust format, and the

                                                 20
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 21 of 42



investments in the collective trusts are identical to those held by the mutual fund, except they cost

less.

        76.    As noted supra, ERISA is derived from trust law. Tibble I, 135 S. Ct. at 1828.

Accordingly, the Supreme Court has stated that where ERISA is silent, courts should seek

guidance from trust law. Varity Corp v. Howe, 516 U.S. 489, 496-97 (1996). One such area is the

selection of appropriate funds for a plan. Trust law states it depends on “the type of trustee and

the nature of the breach involved, the availability of relevant data, and other facts and

circumstances of the case.” Restatement (Third) of Trusts, § 100 cmt. b(1). To determine whether

a fiduciary has selected appropriate funds for the trust, appropriate comparators may include

“return rates of one or more suitable common trust funds, or suitable index mutual funds or

market indexes (with such adjustments as may be appropriate).” Id. (emphasis added).

        77.    Plan fiduciaries such as Defendants here must be continually mindful of investment

options to ensure they do not unduly risk plan participants’ savings and do not charge unreasonable

fees. Some of the best investment vehicles for these goals are collective trusts, which pool plan

participants’ investments further and provide lower fee alternatives to even institutional and 401(k)

plan specific shares of mutual funds. Defendants knew this, or at least should have known this,

because the Plan included at least one collective trust during the Class Period.

        78.    Collective trusts are administered by banks or trust companies, which assemble a

mix of assets such as stocks, bonds and cash. Regulated by the Office of the Comptroller of the

Currency rather than the Securities and Exchange Commission, collective trusts have simple

disclosure requirements, and cannot advertise or issue formal prospectuses. As a result, their costs

are much lower, with lower or no administrative costs, and lower or no marketing or advertising

costs. See Powell, Robert, “Not Your Normal Nest Egg,” The Wall Street Journal, March 2013,

available at http://www.wsj.com/articles/SB10001424127887324296604578177291881550144.

                                                 21
            Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 22 of 42



          79.     Due to their potential to reduce overall plan costs, collective trusts are becoming

increasingly popular; Use of CITs in DC Plans Booming (discussing data showing that among both

mid-size and large defined contribution plans, significantly more assets are held in collective trusts

than in mutual funds).8

          80.     A clear indication of Defendants’ lack of a prudent investment evaluation process

was their failure to identify and select available collective trusts. A prudent fiduciary conducting

an impartial review of the Plan’s investments would have identified all funds that could be

converted to collective trusts at the earliest opportunity. Here, the following funds in the Plan in

2018 were available as collective trusts in 2018 and most of the Class Period:

                             Exp.         Collective Trust        Incep                         % Fee
       Fund in Plan                                                          Exp. Ratio10
                             Ratio9           Version              Date                         Excess

     Fidelity Contrafund                 Fidelity Contrafund     Jan. 17,
                             0.73%                                               0.43%           70%
           Class K                        Commingled Pool         2014




8
  The criticisms that have been launched against collective trust vehicles in the past no longer
apply. Collective trusts use a unitized structure and the units are valued daily; as a result,
participants invested in collective trusts are able to track the daily performance of their investments
online. Use of CITs in DC Plans Booming; Paula Aven Gladych, CITs Gaining Ground in 401(k)
Plans,      EMPLOYEE          BENEFIT        NEWS        (Apr.     14,      2016),     available     at
http://www.benefitnews.com/news/cits-gaining-ground-in-401-k-plans              (hereinafter      “CITs
Gaining Ground”). Many if not most mutual fund strategies are available in a collective trust
format, and the investments in the collective trusts are identical to those held by the mutual funds.
Use of CITs in DC Plans Booming; CITs Gaining Ground. And because collective trusts contract
directly with the plan, and provide regular reports regarding costs and investment holdings, the
plan has the same level of protection that the Investment Company Act provides to individual
investors, thus eliminating the need for the protections of the Investment Company Act. Further,
collective trusts are still subject to state and federal banking regulations that provide comparable
protections. American Bankers Association, ABA Primer on Bank Collective Funds, June 2015,
at 1, available at https://www.aba.com/advocacy/policy-analysis/primer-bank-collective-
investment-funds.
9
    The listed expense figures are as of 2019.
10
     The listed expense figures are as of 2019.
                                                  22
       Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 23 of 42




                       Exp.      Collective Trust      Incep                    % Fee
  Fund in Plan                                                   Exp. Ratio10
                       Ratio9        Version            Date                    Excess

Fidelity Diversified            Fidelity Diversified
                                                       Dec. 13
International Class    0.69%       International                    0.58%        19%
                                                        2013
         K                      Commingled Pool
Fidelity Freedom K              FIAM Blend Target      Oct. 31
                       0.42%                                        0.32%        31%
    2005 Fund                    Date 2005 Q Fund       2007

Fidelity Freedom K              FIAM Blend Target      Oct. 31
                       0.46%                                        0.32%        44%
    2010 Fund                    Date 2010 Q Fund       2007

Fidelity Freedom K              FIAM Blend Target      Oct. 31
                       0.49%                                        0.32%        53%
    2015 Fund                    Date 2015 Q Fund       2007

Fidelity Freedom K              FIAM Blend Target      Oct. 31
                       0.53%                                        0.32%        66%
    2020 Fund                    Date 2020 Q Fund       2007

Fidelity Freedom K              FIAM Blend Target      Oct. 31
                       0.56%                                        0.32%        75%
    2025 Fund                    Date 2025 Q Fund       2007

Fidelity Freedom K              FIAM Blend Target      Oct. 31
                       0.60%                                        0.32%        88%
    2030 Fund                    Date 2030 Q Fund       2007

Fidelity Freedom K              FIAM Blend Target      Oct. 31
                       0.63%                                        0.32%        97%
    2035 Fund                    Date 2035 Q Fund       2007

Fidelity Freedom K              FIAM Blend Target      Oct. 31
                       0.65%                                        0.32%       103%
    2040 Fund                    Date 2040 Q Fund       2007

Fidelity Freedom K              FIAM Blend Target      Oct. 31
                       0.65%                                        0.32%       103%
    2045 Fund                    Date 2045 Q Fund       2007

Fidelity Freedom K              FIAM Blend Target      Oct. 31
                       0.65%                                        0.32%       103%
    2050 Fund                    Date 2050 Q Fund       2007

Fidelity Freedom K              FIAM Blend Target      July 12
                       0.65%                                        0.32%       103%
    2055 Fund                    Date 2055 Q Fund       2011
Fidelity Freedom K              FIAM Blend Target      May 15
                       0.65%                                        0.32%       103%
    2060 Fund                    Date 2060 Q Fund       2015




                                         23
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 24 of 42



       81.      The above is for illustrative purposes only. During the Class Period, Defendants

knew or should have known of the existence of these available collective trusts and therefore also

should have immediately identified the prudence of transferring the Plan’s funds into these

alternative investments.

       82.      As noted above, minimum initial investment amounts are typically waived for

institutional investors like retirement plans. See, e.g., Davis, et al. v. Washington Univ., et al., No.

18-3345, slip op. at 5 (8th Cir. May 22, 2020) (“minimum investment requirements are ‘routinely

waived’ for individual investors in large retirement-savings plans”); Sweda, 923 F.3d at 329 (citing

Tibble II, 729 F.3d at 1137 n.24) (confirming that investment minimums are typically waived for

large plans). Here, “[t]he eligibility requirement for FIAM Blend Target Date is $25 million in

client assets.” See Fidelity Pricing Options for Retirement Plans as of Dec. 31, 2019 (“Fidelity

Pricing”), p. 11. And, “[c]lient assets is defined as assets invested in qualified defined contribution

plans only, which are profit sharing, 401(k), and defined benefit plans that are qualified under

Section 401(a) and governmental plans that are described in section 401(a)24 of the IRS code.”

Id.

       83.      Clearly, per the below chart, the Plan had sufficient assets under management

during the Class Period to qualify for Fidelity collective trusts:

    Fund in      2018 AUM          2017 AUM          2016 AUM          2015 AUM          2014 AUM
      Plan
    Fidelity     $180,455,076      $190,989,424      $146,274,249      $153,029,000      NA
 Contrafund
    Class K
    Fidelity     $44,874,063       $56,981,096       $45,695,069       $51,730,000       $51,140,000
  Diversified
 Internationa
   l Class K
    Fidelity     $3,328,214        $3,130,674        $2,980,076        $2,625,000          $2,482,000
  Freedom K
  2005 Fund


                                                  24
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 25 of 42



  Fidelity      $14,700,883       $16,583,150        $15,357,026    $15,438,000     $18,073,000
 Freedom K
 2010 Fund
  Fidelity      $29,860,328       $35,486,423        $30,758,572    $32,142,000     $32,983,000
 Freedom K
 2015 Fund
  Fidelity      $142,344,416      $154,508,611       $125,978,134   $109,099,000    $101,979,000
 Freedom K
 2020 Fund
  Fidelity      $142,133,737      $140,054,309       $100,640,796   $79,073,000     $67,813,000
 Freedom K
 2025 Fund
  Fidelity      $181,948,301      $180,472,559       $131,011,400   $105,753,000    $91,411,000
 Freedom K
 2030 Fund
  Fidelity      $118,099,631      $113,934,046       $77,225,399    $59,307,000     $48,851,000
 Freedom K
 2035 Fund
  Fidelity      $121,013,003      $121,428,667       $87,806,045    $69,409,000     $61,568,000
 Freedom K
 2040 Fund
  Fidelity      $86,309,175       $82,780,657        $56,344,010    $40,492,000     $31,922,000
 Freedom K
 2045 Fund
  Fidelity      $73,574,568       $68,595,224        $45,056,791    $31,561,000     $23,943,000
 Freedom K
 2050 Fund
  Fidelity      $46,478,867       $37,831,154        $20,863,675    $10,902,000     $5,475,000
 Freedom K
 2055 Fund
  Fidelity      $4,501,198        $1,208,904         NA             NA              NA
 Freedom K
 2060 Fund


       84.     A prudent fiduciary conducting an impartial review of the Plan’s investments would

have identified the cheaper available collective trusts and transferred the Plan’s investments into

the lower cost funds at the earliest opportunity.

       85.     There is no good-faith explanation for utilizing higher-cost funds when lower-cost

funds are available for the exact same investment. Indeed, given that the collective trusts were

comprised of the same underlying investments as their mutual fund counterparts, and managed by

                                                    25
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 26 of 42



the same investment manager, but had lower fees, they generally had greater returns when looking

at the 1, 3, 5, and 10 year average annual returns. Moreover, the Plan did not receive any additional

services or benefits based on its use of more expensive funds; the only consequence was higher

costs for Plan participants. Defendants failed in their fiduciary duties either because they did not

negotiate aggressively enough with their service providers to obtain better pricing or they were

asleep at the wheel and were not paying attention. Either reason is inexcusable.

       86.     Moreover, it is not prudent to select higher cost versions of the same fund even if a

fiduciary believes fees charged to plan participants by the “retail” class investment were the same

as the fees charged by the “institutional” class investment, net of the revenue sharing paid by the

funds to defray the Plan’s recordkeeping costs. Tibble, et al. v. Edison Int. et al., No. 07-5359,

2017 WL 3523737, at * 8 (C.D. Cal. Aug. 16, 2017) (“Tibble III”). Fiduciaries should not “choose

otherwise imprudent investments specifically to take advantage of revenue sharing.” Id., at * 11.

This basic tenet of good fiduciary practice resonates loudly in this case given the unreasonable

recordkeeping and administrative costs arrangements put in place by Defendants.

       87.     The term “recordkeeping” is a catchall term for the suite of administrative services

typically provided to a defined contribution plan by the plan’s “recordkeeper.” Recordkeeping

expenses can either be paid directly from plan assets, or indirectly by the plan’s investments in a

practice known as revenue sharing (or a combination of both or by a plan sponsor). Revenue

sharing payments are payments made by investments within the plan, typically mutual funds, to

the plan’s recordkeeper or to the plan directly, to compensate for recordkeeping and trustee

services that the mutual fund company otherwise would have to provide.

       88.     Although utilizing a revenue sharing approach is not per se imprudent, unchecked,

it is devastating for Plan participants. “At worst, revenue sharing is a way to hide fees. Nobody

sees the money change hands, and very few understand what the total investment expense pays

                                                 26
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 27 of 42



for. It’s a way to milk large sums of money out of large plans by charging a percentage-based fee

that never goes down (when plans are ignored or taken advantage of). In some cases, employers

and employees believe the plan is ‘free’ when it is in fact expensive.” Justin Pritchard, “Revenue

Sharing and Invisible Fees” available at         http://www.cccandc.com/p/revenue-sharing-and-

invisible-fees (last visited March 19, 2020).

       89.     The Plan participated in Fidelity’s participant revenue credit program through

which recordkeeping fees and other Plan administrative costs were paid through the following

structure. The Trustee made annual revenue credit payments, from the funds it received through

revenue sharing, to a Revenue Credit Account.         Afterward, the administrator could direct the

Trustee to use amounts held in the Revenue Credit Account to reimburse the Sponsor for fees and

expenses associated with services provided to the Plan, or pay such vendors, including the Trustee

or third parties, directly. Further, amounts held in the Revenue Credit Account may be fully

utilized each year and any unused amount may be carried over from year to year rather than being

remitted back to participants.

       90.     Over the years, this arrangement of placing revenue sharing funds into a Revenue

Account before disbursement to pay for Plan expenses deprived Plan participants of use of their

money and millions of dollars in lost opportunity costs. A more prudent arrangement in this case

would have been to select available lower cost investment funds that used little to no revenue

sharing and for the Defendants to negotiate and/or obtain reasonable direct compensation per

participant recordkeeping/administration fees.

       91.     By failing to investigate the availability of certain collective trusts, Defendants

caused the Plan to pay millions of dollars per year in unnecessary fees. Further, to the extent

Defendants held revenue sharing amounts for a prolonged period of time and failed to remit any



                                                 27
           Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 28 of 42



excess revenue sharing back to Plan participants, this was a further fiduciary breach that cost Plan

participants millions of dollars during the Class Period.

          Failure to Utilize Lower Fee Share Classes

          92.    Plan fiduciaries had an option to choose lower cost Fidelity collective trusts during

the Class Period. But they also had the option of other lower cost identical funds which they

similarly failed to select. Since June 2017, Fidelity has offered K shares of its target date funds.

Generally, “K6 Funds and Class K are available to retirement plans recordkept at Fidelity [like the

Plan here].” Fidelity Pricing at 3. “K6 Funds are intended for plan sponsors that do not want to

receive any revenue sharing or recordkeeping offsets.” Id. The K6 target date shares were

significantly cheaper than the Class K shares – price being the only difference between the two

classes of shares. The following chart illustrates the point:

                             Exp.                                Incep                         % Fee
       Fund in Plan                               K6                         Exp. Ratio13
                            Ratio11                              Date12                        Excess

 Fidelity Freedom K                     Fidelity Freedom K6      June 7
                            0.42%                                               0.37%           14%
     2005 Fund                               2005 Fund            2017
 Fidelity Freedom K                     Fidelity Freedom K6      June 7
                            0.46%                                               0.39%           18%
     2010 Fund                               2010 Fund            2017
 Fidelity Freedom K                     Fidelity Freedom K6      June 7
                            0.49%                                               0.41%           20%
     2015 Fund                               2015 Fund            2017
 Fidelity Freedom K                     Fidelity Freedom K6      June 7
                            0.53%                                               0.43%           23%
     2020 Fund                               2020 Fund            2017
 Fidelity Freedom K                     Fidelity Freedom K6      June 7
                            0.56%                                               0.45%           24%
     2025 Fund                               2025 Fund            2017
 Fidelity Freedom K                     Fidelity Freedom K6      June 7
                            0.60%                                               0.47%           28%
     2030 Fund                               2030 Fund            2017

11
     The listed expense figures are as of 2019.
12
     See May 30, 2020 Fidelity Freedom Funds Prospectus.
13
     The listed expense figures are as of 2019.

                                                  28
            Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 29 of 42




                             Exp.                                  Incep                       % Fee
       Fund in Plan                               K6                          Exp. Ratio13
                            Ratio11                                Date12                      Excess

     Fidelity Freedom K                  Fidelity Freedom K6       June 7
                             0.63%                                                0.49%         29%
         2035 Fund                            2035 Fund             2017
     Fidelity Freedom K                  Fidelity Freedom K6       June 7
                             0.65%                                                0.50%         30%
         2040 Fund                            2040 Fund             2017
     Fidelity Freedom K                  Fidelity Freedom K6       June 7
                             0.65%                                                0.50%         30%
         2045 Fund                            2045 Fund             2017
     Fidelity Freedom K                  Fidelity Freedom K6       June 7
                             0.65%                                                0.50%         30%
         2050 Fund                            2050 Fund             2017
     Fidelity Freedom K                  Fidelity Freedom K6       June 7
                             0.65%                                                0.50%         30%
         2055 Fund                            2055 Fund             2017
     Fidelity Freedom K                  Fidelity Freedom K6       June 7
                             0.65%                                                0.50%         30%
         2060 Fund                            2060 Fund             2017



          93.     Additionally, the Plan fiduciaries added two funds during the Class Period that cost

more than available identical lower share classes:

                           Years in     2018                    Lower Cost          Exp.     % Fee
       Fund in Plan                                 Exp.
                           the Plan     AUM                       Share            Ratio15   Excess
                                                   Ratio14

       Harbor Capital     Since 2014 $83.8m                    Harbor Capital
                                                                                              17%
      Appreciation Inst                            0.68%      Appreciation Ret     0.58 %
            Class                                                   Class
      Principal Midcap    Since 2014 $58.0m                   Principal Midcap
                                                   0.69%                            0.59%     17%
        Fund Inst C1                                              Fund R6


          94.     According to the Harbor Capital fund prospectus:

                  Retirement Class shares commenced operations on March 1, 2016.
                  The performance attributed to the Retirement Class shares prior to
                  that date is that of the Institutional Class shares. Performance prior
                  to March 1, 2016 has not been adjusted to reflect the lower expenses

14
     The listed expense figures are as of 2019.
15
     The listed expense figures are as of 2019.
                                                   29
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 30 of 42



               of Retirement Class shares. During this period, Retirement Class
               shares would have had returns similar to, but somewhat higher than,
               Institutional Class shares due to the fact that Retirement Class shares
               represent interests in the same portfolio as Institutional Class shares
               but are subject to lower expenses.

Harbor Funds Annual Report, Oct. 31, 2019, at 3.

       95.     Recently, a court observed that “[b]ecause the institutional share classes are

otherwise identical to the Investor share classes, but with lower fees, a prudent fiduciary would

know immediately that a switch is necessary. Thus, the ‘manner that is reasonable and appropriate

to the particular investment action, and strategies involved…in this case would mandate a prudent

fiduciary – who indisputably has knowledge of institutional share classes and that such share

classes provide identical investments at lower costs – to switch share classes immediately.” Tibble

III, 2017 WL 3523737, at * 13.

       96.     Defendants knew or should have known of the existence of the above cheaper share

classes (both for the Fidelity funds and Harbor and Principal Midcap Funds) and therefore also

should have immediately identified the prudence of selecting these alternative investments which

were all available during the Class Period. The Harbor Capital Appreciation Ret Class fund was

available as of March 1, 2016 and the Principal Midcap Fund R6 was available as of November

22, 2016.

       97.     As noted above, qualifying for lower share classes usually requires only a minimum

of a million dollars for individual funds. However, initial investment minimums are generally

waived for financial intermediaries and retirement plans.

       98.     A prudent fiduciary conducting an impartial review of the Plan’s investments would

have identified the cheaper share classes available and selected the lower share classes.




                                                 30
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 31 of 42



        99.        Failure to do so was because either Defendants did not negotiate aggressively

enough with their service providers to obtain better pricing or they simply were not paying

attention.

        100.       Nor is it an excuse to select higher cost versions of the same fund to pay for Plan

expenses. As noted above, fiduciaries should not “choose otherwise imprudent investments

specifically to take advantage of revenue sharing.” Tibble III, 2017 WL 3523737, at * 11.

        101.       By failing to investigate the use of lower cost share classes, Defendants caused the

Plan and its participants to pay millions of dollars per year in unnecessary fees.

        Failure to Utilize Lower Cost Passively-Managed Funds

        102.       As noted supra, ERISA is derived from trust law. Tibble I, 135 S. Ct. at 1828.

Accordingly, appropriate investments for a fiduciary to consider are “suitable index mutual funds

or market indexes (with such adjustments as may be appropriate).” Restatement (Third) of Trusts,

§ 100 cmt. b(1).

        103.       While higher-cost mutual funds may outperform a less-expensive option, such as a

passively-managed index fund, over the short term, they rarely do so over a longer term. See

Jonnelle Marte, Do Any Mutual Funds Ever Beat the Market? Hardly, The Washington Post,

available     at    https://www.washingtonpost.com/news/get-there/wp/2015/03/17/do-any-mutual-

funds-ever-beat-the-market-hardly/ (citing a study by S&P Dow Jones Indices which looked at

2,862 actively-managed mutual funds, focused on the top quartile in performance and found most

did not replicate performance from year to year); see also Index funds trounce actively managed

funds: Study, available at           http://www.cnbc.com/2015/06/26/index-funds-trounce-actively-

managed-funds-study.html (“long-term data suggests that actively-managed funds “lagged their

passive counterparts across nearly all asset classes, especially over the 10-year period from 2004

to 2014.”)

                                                    31
           Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 32 of 42



          104.   Indeed, on average funds with high fees perform worse than less expensive funds,

even on a pre-fee basis. Javier Gil-Bazo & Pablo Ruiz-Verdu, When Cheaper is Better: Fee

Determination in the Market for Equity Mutual Funds, 67 J. Econ. Behav. & Org. 871, 873 (2009)

(hereinafter “When Cheaper is Better”); see also Jill E. Fisch, Rethinking the Regulation of

Securities Intermediaries, 158 U. Pa. L. Rev. 1961, 1967-75 (2010) (summarizing numerous

studies showing that “the most consistent predictor of a fund’s return to investors is the fund’s

expense ratio”).

          105.   During the Class Period, Defendants failed to consider materially similar but

cheaper alternatives to the Plan’s investment options. This failure is a further indication that

Defendants lacked a prudent investment monitoring process.

          106.   The chart below demonstrates that the expense ratios of the Plan’s investment

options were more expensive by multiples of comparable passively-managed alternative funds in

the same fund category. The chart below analyzes funds in the Plan in 2018 using 2018 expense

ratios as a methodology to demonstrate the greater relative expense of the Plan’s funds compared

to their alternative fund counterparts.

                          Net                                  Net
                                                                                        % Fee
      Fund in Plan      Expense      Passive Alternative     Expense    Incep. Date
                                                                                        Excess
                         Ratio                               Ratio16

                                   Fidelity Freedom Index                  Dec. 2
                                                              0.14%                     200%
                                     2005 Investor Class                   2009
     Fidelity Freedom
                        0.42%
       K 2005 Fund
                                   Fidelity Freedom Index
                                                                          June 24
                                     2005 Inst. Premium       0.08%                     425%
                                                                           2015
                                            Class

     Fidelity Freedom              Fidelity Freedom Index                  Oct. 2
                        0.46%                                 0.14%                     229%
       K 2010 Fund                   2010 Investor Class                   2009

16
  As of June 1, 2019, Fidelity Freedom Index Funds – Investor Class’ expenses were reduced to
0.12% from 0.14%.
                                                32
      Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 33 of 42



                     Net                                Net
                                                                              % Fee
 Fund in Plan      Expense    Passive Alternative     Expense   Incep. Date
                                                                              Excess
                    Ratio                             Ratio16
                             Fidelity Freedom Index
                                                                  June 24
                               2010 Inst. Premium     0.08%                   475%
                                                                   2015
                                      Class
                             Fidelity Freedom Index               Oct. 2
                                                      0.14%                   250%
                               2015 Investor Class                2009
Fidelity Freedom
                   0.49%     Fidelity Freedom Index
  K 2015 Fund                                                     June 24
                               2015 Inst. Premium     0.08%                   513%
                                                                   2015
                                      Class
                             Fidelity Freedom Index               Oct. 2
                                                      0.14%                   279%
                               2020 Investor Class                2009
Fidelity Freedom
                   0.53%
  K 2020 Fund                Fidelity Freedom Index
                                                                  June 24
                               2020 Inst. Premium     0.08%                   563%
                                                                   2015
                                      Class

                             Fidelity Freedom Index               Oct. 2
                                                      0.14%                   300%
                               2025 Investor Class                2009
Fidelity Freedom
                   0.56%
  K 2025 Fund                Fidelity Freedom Index
                                                                  June 24
                               2025 Inst. Premium     0.08%                   600%
                                                                   2015
                                      Class

                             Fidelity Freedom Index               Oct. 2
                                                      0.14%                   329%
                               2030 Investor Class                2009
Fidelity Freedom
                   0.60%
  K 2030 Fund                Fidelity Freedom Index
                                                                  June 24
                               2030 Inst. Premium     0.08%                   650%
                                                                   2015
                                      Class

                             Fidelity Freedom Index               Oct. 2
                                                      0.14%                   350%
                               2035 Investor Class                2009
Fidelity Freedom
                   0.63%
  K 2035 Fund                Fidelity Freedom Index
                                                                  June 24
                               2035 Inst. Premium     0.08%                   688%
                                                                   2015
                                      Class

                             Fidelity Freedom Index               Oct. 2
                                                      0.14%                   364%
                               2040 Investor Class                2009
Fidelity Freedom
                   0.65%
  K 2040 Fund                Fidelity Freedom Index
                                                                  June 24
                               2040 Inst. Premium     0.08%                   713%
                                                                   2015
                                      Class



                                         33
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 34 of 42



                        Net                                     Net
                                                                                           % Fee
   Fund in Plan       Expense       Passive Alternative       Expense     Incep. Date
                                                                                           Excess
                       Ratio                                  Ratio16

                                   Fidelity Freedom Index                    Oct. 2
                                                                0.14%                       364%
                                     2045 Investor Class                     2009
 Fidelity Freedom
                        0.65%
   K 2045 Fund                     Fidelity Freedom Index
                                                                            June 24
                                     2045 Inst. Premium         0.08%                       713%
                                                                             2015
                                            Class

                                   Fidelity Freedom Index                    Oct. 2
                                                                0.14%                       364%
                                     2050 Investor Class                     2009
 Fidelity Freedom
                        0.65%
   K 2050 Fund                     Fidelity Freedom Index
                                                                            June 24
                                     2050 Inst. Premium         0.08%                       713%
                                                                             2015
                                            Class

                                   Fidelity Freedom Index                    June 1
                                                                0.14%                       364%
                                     2055 Investor Class                      2011
 Fidelity Freedom
                        0.65%
   K 2055 Fund                     Fidelity Freedom Index
                                                                            June 24
                                     2055 Inst. Premium         0.08%                       713%
                                                                             2015
                                            Class

                                   Fidelity Freedom Index                    Jan. 12
                                                                0.14%                       364%
                                     2060 Investor Class                      2014
 Fidelity Freedom
                        0.65%
   K 2060 Fund                     Fidelity Freedom Index
                                                                            June 24
                                     2060 Inst. Premium         0.08%                       713%
                                                                             2015
                                            Class


       107.    The above alternative funds generally outperformed the Plan’s funds in their 3 and

5 year average returns as of 2020 given that they were comprised of virtually identical underlying

funds but had lower fees. Moreover, these alternative investments had no material difference in

risk/return profiles with the Plan’s funds and there was a high correlation of the alternative funds’

holdings with the Plan’s funds holdings such that any difference was immaterial.




                                                 34
           Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 35 of 42



          108.     These results are not surprising given that in the long-term, actively managed funds

do not outperform their passively-managed counterparts. Indeed, the majority of U.S. equity funds

did not outperform their index counterparts in the five years ending June 30, 2019:17

        Fund Category               Comparison Index                Percentage of Funds That
                                                                    Underperformed Their
                                                                    Benchmark 5 Yr (%)
                 Large-Cap                    S&P 500               78.52

                 Mid-Cap                  S&P MidCap 400            63.56

                 Small-Cap               S&P SmallCap 600           75.09

                 Multi-Cap              S&P Composite 1500          82.79

            Domestic Equity             S&P Composite 1500          81.66

           Large-Cap Value                   S&P Value              84.74

            Mid-Cap Value             S&P MidCap 400 Value          92.31

           Small-Cap Value           S&P SmallCap 600 Value         90.57

            Multi-Cap Value             S&P Composite 1500          91.35
                                              Value

          109.     A prudent investigation would have revealed the existence of these lower-cost and

better performing alternatives to the Plan’s funds.

          110.     The above is for illustrative purposes only as the significant fee disparities detailed

above existed for all years of the Class Period. The Plan expense ratios were multiples of what

they should have been given the bargaining power available to the Plan fiduciaries.

C.        Defendants Breached Their Duty of Loyalty to the Plan and Its Participants




17
     Source: https://us.spindices.com/spiva/#/reports
                                                     35
            Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 36 of 42



        111.    The structure of this Plan is rife with potential conflicts of interest because Fidelity

and its affiliates were placed in positions that allowed them to reap profits from the Plan at the

expense of Plan participants. Here, the Plan’s Trustee is Fidelity, and an affiliate of Fidelity

performs the recordkeeping services for the Plan.

        112.    This conflict of interest is laid bare in this case where lower-cost Fidelity collective

trusts and index funds – materially similar or identical to the Plan’s other Fidelity funds (other than

in price) – were available but not selected because the higher-cost funds returned more value to

Fidelity.

        113.    There appears to be no reasonable justification for the millions of dollars collected

from Plan participants that ended up in Fidelity’s coffers.

        114.    The Company, and the fiduciaries to whom it delegated authority, breached their

duty of undivided loyalty to Plan participants by failing to adequately supervise Fidelity and its

affiliates and ensure that the fees charged by Fidelity and its affiliates were reasonable and in the

best interests of the Plan and its participants. Clearly, Defendants failed this aspect of their

fiduciary duties.

                                  FIRST CLAIM FOR RELIEF
                      Breaches of Fiduciary Duties of Loyalty and Prudence
                    (Asserted against Universal and the Committee Defendants)

        115.    Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint as if fully set forth herein.

        116.    At all relevant times, the Committee Defendants, and Universal to the extent of

actions it took as a Plan administrator (“Prudence Defendants”), were fiduciaries of the Plan within

the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A), in that they exercised

discretionary authority or control over the administration and/or management of the Plan or

disposition of the Plan’s assets.

                                                  36
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 37 of 42



        117.    As fiduciaries of the Plan, the Prudence Defendants were subject to the fiduciary

duties imposed by ERISA Section 404(a), 29 U.S.C. § 1104(a). These fiduciary duties included

managing the assets of the Plan for the sole and exclusive benefit of Plan participants and

beneficiaries, and acting with the care, skill, diligence, and prudence under the circumstances that

a prudent person acting in a like capacity and familiar with such matters would use in the conduct

of an enterprise of like character and with like aims.

        118.    The Prudence Defendants breached these fiduciary duties in multiple respects as

discussed throughout this Complaint.        They did not make decisions regarding the Plan’s

investment lineup based solely on the merits of each investment and what was in the best interest

of Plan participants. Instead, the Prudence Defendants selected and retained investment options

in the Plan despite the high cost of the funds in relation to other comparable investments. The

Prudence Defendants also failed to investigate the availability of lower-cost share classes of certain

mutual funds in the Plan. In addition, the Prudence Defendants failed to investigate certain

collective trusts as alternatives to mutual funds, even though they generally provide the same

investment management services at a lower cost. Likewise, the Prudence Defendants failed to

monitor or control the grossly excessive compensation paid for recordkeeping services.

        119.    As a direct and proximate result of the breaches of fiduciary duties alleged herein,

the Plan suffered millions of dollars of losses due to excessive costs and lower net investment

returns. Had the Prudence Defendants complied with their fiduciary obligations, the Plan would

not have suffered these losses, and Plan participants would have had more money available to them

for their retirement.

        120.    Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Prudence Defendants are

liable to restore to the Plan all losses caused by their breaches of fiduciary duties, and also must

restore any profits resulting from such breaches. In addition, Plaintiffs are entitled to equitable

                                                 37
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 38 of 42



relief and other appropriate relief for the Prudence Defendants’ breaches as set forth in their Prayer

for Relief.

        121.   The Prudence Defendants knowingly participated in each breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to commit

breaches by failing to lawfully discharge such Defendant’s own duties, and knew of the breaches

by the other Defendants and failed to make any reasonable and timely effort under the

circumstances to remedy the breaches. Accordingly, each Prudence Defendant is also liable for

the breaches of their co-fiduciaries under 29 U.S.C. § 1105(a).

                               SECOND CLAIM FOR RELIEF
                       Failure to Adequately Monitor Other Fiduciaries
                                  (Asserted against Universal)

        122.   Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint as if fully set forth herein.

        123.   Universal (the “Monitoring Defendant”) had the authority to appoint and remove

members of the Committee through its Board of Directors, and was aware that the Committee

Defendants had critical responsibilities as fiduciaries of the Plan.

        124.   In light of this authority, the Monitoring Defendant had a duty to monitor the

Committee Defendants to ensure that the Committee Defendants were adequately performing their

fiduciary obligations, and to take prompt and effective action to protect the Plan in the event that

the Committee Defendants were not fulfilling those duties.

        125.   The Monitoring Defendant also had a duty to ensure that the Committee Defendant

possessed the needed qualifications and experience to carry out their duties (or used qualified

advisors and service providers to fulfill their duties); had adequate financial resources and

information; maintained adequate records of the information on which they based their decisions



                                                 38
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 39 of 42



and analysis with respect to the Plan’s investments; and reported regularly to the Monitoring

Defendant.

       126.     The Monitoring Defendant breached their fiduciary monitoring duties by, among

other things:

                (a)    Failing to monitor and evaluate the performance of the Committee

                       Defendants or have a system in place for doing so, standing idly by as the

                       Plan suffered significant losses in the form of unreasonably high expenses,

                       imprudent choices of funds’ class of shares, and inefficient fund

                       management styles that adversely affected the investment performance of

                       the Funds’ and their participants’ assets as a result of the Committee

                       Defendants’ imprudent actions and omissions;

                (b)    Failing to monitor the processes by which Plan investments were evaluated,

                       the Committee Defendants’ failure to investigate the availability of lower-

                       cost share classes, and the Committee Defendants’ failure to investigate the

                       availability of lower-cost collective trust vehicles; and

                (c)    Failing to remove Committee members whose performance was inadequate

                       in that they continued to maintain imprudent, excessively costly, and poorly

                       performing investments within the Plan, and caused the Plan to pay

                       excessive recordkeeping fees, all to the detriment of the Plan and Plan

                       participants’ retirement savings.

       127.     As a consequence of the foregoing breaches of the duty to monitor, the Plan

suffered millions of dollars of losses. Had the Monitoring Defendant complied with their fiduciary

obligations, the Plan would not have suffered these losses, and Plan participants would have had

more money available to them for their retirement.

                                                 39
         Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 40 of 42



        128.    Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Monitoring Defendant is

liable to restore to the Plan all losses caused by their failure to adequately monitor the Committee

Defendants. In addition, Plaintiffs are entitled to equitable relief and other appropriate relief as set

forth in their Prayer for Relief.

                                      PRAYER FOR RELIEF

        129.    WHEREFORE, Plaintiffs pray that judgment be entered against Defendants on all

claims and requests that the Court awards the following relief:

        A.      A determination that this action may proceed as a class action under Rule 23(b)(1),

or in the alternative Rule 23(b)(2), of the Federal Rules of Civil Procedure;

        B.      Designation of Plaintiffs as Class Representatives and designation of Plaintiffs’

counsel as Class Counsel;

        C.      A Declaration that the Defendants, and each of them, have breached their fiduciary

duties under ERISA;

        D.      An Order compelling the Defendants to make good to the Plan all losses to the Plan

resulting from Defendants’ breaches of their fiduciary duties, including restoring to the Plan all

losses resulting from imprudent investment of the Plan’s assets, restoring to the Plan all profits the

Defendants made through use of the Plan’s assets, and restoring to the Plan all profits which the

participants would have made if the Defendants had fulfilled their fiduciary obligations;

        E.      An order requiring the Company Defendant to disgorge all profits received from,

or in respect of, the Plan, and/or equitable relief pursuant to 29 U.S.C. § 1132(a)(3) in the form of

an accounting for profits, imposition of a constructive trust, or a surcharge against the Company

Defendant as necessary to effectuate said relief, and to prevent the Company Defendant’s unjust

enrichment;



                                                  40
           Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 41 of 42



          F.    Actual damages in the amount of any losses the Plan suffered, to be allocated

among the participants’ individual accounts in proportion to the accounts’ losses;

          G.    An order enjoining Defendants from any further violations of their ERISA fiduciary

responsibilities, obligations, and duties;

          H.    Other equitable relief to redress Defendants’ illegal practices and to enforce the

provisions of ERISA as may be appropriate, including appointment of an independent fiduciary or

fiduciaries to run the Plan and removal of Plan fiduciaries deemed to have breached their fiduciary

duties;

          I.    An award of pre-judgment interest;

          J.    An award of costs pursuant to 29 U.S.C. § 1132(g);

          K.    An award of attorneys’ fees pursuant to 29 U.S.C. § 1132(g) and the common fund

doctrine; and

          L.    Such other and further relief as the Court deems equitable and just.



Dated: July 6, 2020                    CAPOZZI ADLER, P.C.

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                                                 41
Case 2:20-cv-02644-MAK Document 4 Filed 07/06/20 Page 42 of 42



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                                42
